              Case 6:09-cr-00048-LGW-CLR Document 1142 Filed 09/08/15 Page 1 of 1
AO247 (Rev. 1l/11) OrderReBarding                Reduohon
                                Motionlor Sentence      Pursuant
                                                              to 18U.S.C.$ 3582(cX2)                              2 Nol for PublicDisclosurc)
                                                                                                    PageI of2 {Page


                                   UNrrnnSrarnsDtsrrucrCounr us,,06;y$io19uni
                                                                for the
                                                   SouthemDistrictof Georgia
                                                                                                           ztltsgp-8pfl t,
                                                      StatesboroDivision

                  UnitedStatesof America
                              V,
                                                                       CaseNo:       6:09CR00048-l
               LawrenceHughMcCullough,Jr.
                                                                       USM No:        14258-021
Dateof OriginalJudgment:       No:e!4!9!2i.?q-S
Dateof PreviousAmendedJudgment:                                        J. KendallGross
(UseDate of LastAmendedJudgmentif Any)                                 Defendant's
                                                                                Attorney


               ORDERREGARDINGMOTION FOR SENTENCEREDUCTION
                       PURSUANTTo 18U.S.C.$ 3s82(c)(2)
       Uponmotionof g the defendant ! the Directorofthe BureauofPrisons n the courtunder18U.S.C.
                                                   imposedbasedon a guidelinesentencing
$ 3582(cX2)for a reductionin the termof imprisonment                                      rangethathas
subsequentlybeenloweredandmaderetroactiveby theUnitedStatesSentencing      Commission  pursuant to 28 U S.C.
$ 99a(u),andhavingconsidered   suchmotion,andtakinginto accountthe policystatement setforth at USSG$iB1.10
andthe sentencing factorssetforh in 18U.S.C.$ 3553(a),to the extentthattheyareapplicable,
lT lS ORDEREDthatrhemotionis:
                                                                                     fasreJlected
                                                                       of imprisonment
                                               previouslyimposedsentence
          tr DENIED. X GRANTEDandthe defendant's                                               in
the lqstjudgmentissued)of     192           months is reducedto            187months
                                       (Conplete Partt I and II ofPage 2 vhen motion is grdtlted)




Except as otherwiseprovided, all provisions ofthejudgment dated
IT IS SO ORDERf,D.

Order Date:


                                                             DudleyH. Bowen,Jr.
Effective Date:        Novemberl,20!5_                       UnitedStatesDistrictJudge
                  (if dffirent from orderdate)                                            Printed name and title
